        05-44481-rdd         Doc 19470-2 Filed 02/17/10 Entered 02/17/10 17:47:02
                                  Certificate of Service Pg 1 of 1



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
         In re                                                 :
                                                               :
DPH HOLDINGS CORP, et al.,                                     :    Chapter 11
                                                               :
                           Reorganized Debtors.                :    Case No. 05-44481 (RDD)
                                                               :
                                                               :    (Jointly Administered)
                                                               :
---------------------------------------------------------------x

                                      CERTIFICATE OF SERVICE

             I hereby certify that on February 17, 2010, I served a true and correct copy of the
foregoing RESPONSE OF JOHNSON CONTROLS, INC. (CLAIM NUMBER 18528) TO
REORGANIZED DEBTORS’ FORTY-THIRD OMNIBUS OBJECTION PURSUANT TO 11
U.S.C. §503(b) AND FED. R. BANKR. P. 3007 TO (I) EXPUNGE CERTAIN ADMINISTRATIVE
EXPENSE (A) SEVERANCE CLAIMS, (B) BOOKS AND RECORDS CLAIMS, (C) DUPLICATE
CLAIMS, (D) EQUITY INTERESTS, (E) PREPETITION CLAIMS, (F) INSUFFICIENTLY
DOCUMENTED CLAIMS, (G) PENSION, BENEFIT, AND OPEB CLAIMS, (H) WORKERS’
COMPENSATION CLAIMS, AND (I) TRANSFERRED WORKERS’ COMPENSATION
CLAIMS, (II) MODIFY AND ALLOW CERTAIN ADMINISTRATIVE EXPENSE SEVERANCE
CLAIMS, AND (III) ALLOW CERTAIN ADMINISTRATIVE EXPENSE SEVERANCE CLAIMS
via Overnight Mail to the addresses set forth below:

                Honorable Robert D. Drain
                United States Bankruptcy Court SDNY
                The Hon. Charles L. Brieant Jr. Federal Building and Courthouse
                300 Quarropas Street, Courtroom 116
                White Plains, New York 10601-4140

                DPH Holdings Corp.
                5725 Delphi Drive
                Troy, Michigan 48098
                (Att'n: President)

                Skadden, Arps, Slate, Meagher & Flom LLP
                155 North Wacker Drive
                Chicago, Illinois 60606
                (Att'n: John Wm. Butler, Jr., John K. Lyons, and Joseph N. Wharton)


Dated: February 17, 2010                                      By: /s/ Christopher A. Lynch __________



                                                                          US_ACTIVE-103217215.1-ALLEONAR 2/17/10 5:35 PM
